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      4
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      5   JOSE NEGRETE
      6

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      8                           IN THE UNITED STATES DISTRICT COURT
      9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
     10   UNITED STATES OF AMERICA,                  ) Case No. 1:05CR00161 OWW
                                                     )
     11   Plaintiff,                                 ) STIPULATION AND ORDER FOR CON-
                                                     ) TINUANCE OF STATUS CONFERENCE
     12   vs.                                        )
                                                     )
     13   JOSE NEGRETE                               )
                                                     )
     14   Defendant.                                 )
     15           It is hereby stipulated that the date for status conference be continued from
     16   October 31, 2006, 9:00 a.m., to November 13, 2006, 9:00 a.m. The parties agree that
     17   the delay resulting from the continuance shall be excluded in the interests of justice,
     18
          including the need for time for effective assistance of counsel pursuant to 18 U.S.C. §§
     19
          3161(h)(8)(A) and 3161(h)(B)(iv).
     20

     21   DATED: October 27, 2006             /s/Stephen Mensel
                                              STEPHEN MENSEL
     22                                       Attorney for Defendant JOSE NEGRETE

     23
          DATED: October 27, 2006             McGREGOR W. SCOTT, United States Attorney
     24
                                              /s/Karen A. Escobar
     25                                       By KAREN A. ESCOBAR
                                              Assistant United States Attorney
     26
                                                    ORDER
     27
                  It is so ordered.
     28
          DATED: 10/27/06                     /s/ Oliver W. Wanger
     29                                       OLIVER W. WANGER
                                              United States District Judge


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